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      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
      IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      CASE NO.: 2018-029719-CA-01
      SECTION: CA43
      JUDGE: Beatrice Butchko

      Igor Mikhaylov et al
      Plaintiff(s) / Petitioner(s)
      vs.
      Anatoly Zinoviev et al
      Defendant(s) / Respondent(s)
      ____________________________/

       ORDER GRANTING RECEIVER'S EMERGENCY MOTION FOR AUTHORITY
      TO FILE A VOLUNTARY CHAPTER 11 BANKRUPTCY CASE FOR EAST COAST
                               INVEST, LLC




               THIS CAUSE came before the Court for hearing on July 30, 2019 at 9:00 a.m. upon the

      “Receiver’s Emergency Motion for Authority to File a Voluntary Chapter 11 Bankruptcy Case

      for East Coast Invest, LLC” (the “Motion”). The Court having reviewed the Motion, having
      reviewed “Defendants’ Anatoly Zinoviev, Natalie Kouzmina, Real Clean, LLC, Genna

      Demircan, AZ Services, Miami, LLC and ELM Construction, LLC Objection to Receiver’s

      Emergency Motion for Authority to File A Voluntary Chapter 11 Bankruptcy for East Coast

      Invest, LLC” (the “Defendant Objection”), having heard the presentation of counsel for the

      Receiver, the Plaintiffs, and several Defendants, and having considered the record in this

      case, finds cause to grant the Motion for the reasons stated on the record. Accordingly, it is


               ORDERED as follows:


               1.       The Motion is GRANTED.
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        2.      The Defendant Objection is OVERRULED.


        3.       Barry Mukamal, as Receiver for East Coast Invest, LLLP, the sole managing

member of East Coast Invest, LLC (“ECI”), is authorized to file a voluntary chapter 11

bankruptcy case for East Coast Invest, LLC (“ECI”) for the reasons stated on the record and in

consideration of the commitment of Plaintiff Igor Mikhaylov (“Mikhaylov”) to fund the

administrative expenses of the chapter 11 bankruptcy case on the following terms:


                 a.        Mikhaylov will pay the Receiver and his professionals their outstanding

fees and costs and a fee retainer in the aggregate amount of $70,000.00 prior to the

bankruptcy filing and record a corresponding receiver’s certificate;


                 b.        Mikhaylov will pay the Receiver and his professionals a cost retainer in

the aggregate amount of $5,000.00 prior to the bankruptcy filing and record a corresponding

receiver’s certificate;


                 c.        Mikhaylov will pay all non-professional administrative expenses of the

bankruptcy estate;


                      d.      Mikhaylov will pay all fees and costs of the Receiver and his

professionals for a period of no less than five (5) months following the filing of the bankruptcy

petition, and may continue forward on a month-to-month basis unless and until Mikhaylov

provides written notice of his intent to cease the funding of professional fees and costs (the

“Termination Notice”). The Termination Notice shall be served on the Receiver and his

professionals, filed with the bankruptcy court, and provide at least thirty (30) days’ notice of the

intent to terminate funding. Notwithstanding any termination, the obligation to fund fees and

costs of the Receiver and his professionals will extend through the expiration of the thirty (30)

day notice period.
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                   e.             The amounts payable by Mikhaylov will be based on expenses

described in a budget agreed to by Mikhaylov and the Receiver, and/or amounts approved by

the bankruptcy court, and will be:


                             i.       considered post-petition financing in favor of ECI that shall be

         secured by a bankruptcy court approved super-priority lien on all of the assets of ECI

         other than causes of action arising under chapter 5 of the Bankruptcy Code, including

         but not limited to the assets referenced in the schedule attached hereto as Exhibit “1”;


                         ii.         with the debt and super-priority lien of Mikhaylov subordinated to

         the extent of any unpaid administrative expenses of ECI’s bankruptcy estate that

         Mikhaylov has agreed or is required to fund;


                         iii.       without recourse to the Receiver or his professionals;


                         iv.        without interest; and


                        v.         to be repaid to Mikhaylov from the sale or other disposition of the

               assets of ECI or as may otherwise be ordered by the bankruptcy court.


         4.      The Receiver will certify service of this Order.

          DONE AND ORDERED in Miami-Dade County, Florida, on August _____,
 2019.



                                                        _____________________________
                                                        BEATRICE BUTCHKO
                                                        CIRCUIT JUDGE
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                                    Exhibit “1”
DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 6th day of August,
2019.




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                                                 Hon. Beatrice Butchko

                                                 CIRCUIT COURT JUDGE
                                                 Electronically Signed



 No Further Judicial Action Required on THIS MOTION

 CLERK TO RECLOSE CASE IF POST JUDGMENT



Copies Furnished To:
Adam J. Yormack Yormack , Email : adam.yormack@gmail.com
Adam J. Yormack Yormack , Email : adam@eylawyers.com
Adam J. Yormack Yormack , Email : adam.yormack@yormackpa.com
Alan Robert Rosenberg , Email : gruiz@mrthlaw.com
Alan Robert Rosenberg , Email : litservice@mrthlaw.com
Alan Robert Rosenberg , Email : arosenberg@mrthlaw.com
Alan Rosenberg , Email : arosenberg@mrthlaw.com
Alan Rosenberg , Email : litservice@mrthlaw.com
Alec M. Puig , Email : Alec.puig@hklaw.com
Alex M. Gonzalez , Email : Anabel.avalos@hklaw.com
Alex M. Gonzalez , Email : Alex.gonzalez@hklaw.com
Barry E. Mukamal , Email : bmukamal@kapilamukamal.com
Benjamin A. Taormina , Email : carmen.ramsey@hklaw.com
Benjamin A. Taormina , Email : Benjamin.Taormina@hklaw.com
Brett A Barfield , Email : aida.guerrero@hklaw.com
Brett A Barfield , Email : brett.barfield@hklaw.com
Brett A. Barfield , Email : Brett.barfield@hklaw.com
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Brian D Gottlieb , Email : mjimenez@rtrlaw.com
Brian D Gottlieb , Email : brian@rtrlaw.com
Brian D Gottlieb , Email : ghidalgo@rtrlaw.com
Cbl Section 43 Case Mgr , Email : cbl43@jud11.flcourts.org
Gaspar Forteza , Email : gaspar.forteza@blaxgray.com
Gaspar Forteza , Email : gaspar.forteza@gmail.com
Gaspar Forteza , Email : forteza.assistant@blaxgray.com
Gerardo A. Vazquez , Email : gv@gvazquez.com
Herbert Stettin , Email : hmstettin@bellsouth.net
Ian J Kukoff , Email : kukoff.assistant@blaxgray.com
Ian J Kukoff , Email : ian.kukoff@blaxgray.com
Israel J Encinosa , Email : aavalos@hklaw.com
Israel J Encinosa , Email : israel.encinosa@hklaw.com
Israel J. Encinosa , Email : Israel.encinosa@hklaw.com
Jason D Katz , Email : marcos@jkatzlaw.com
Jason D Katz , Email : jason@jkatzlaw.com
Jason D Katz , Email : casey@jkatzlaw.com
Jerry M. Markowitz , Email : jmarkowitz@mrthlaw.com
Jerry M. Markowitz , Email : litservice@mrthlaw.com
Keith D. Silverstein , Email : keith@silversteinpa.com
Keith David Silverstein , Email : service@silversteinpa.com
Keith David Silverstein , Email : keith@silversteinpa.com
Keith David Silverstein , Email : maikel@silversteinpa.com
Lissette.garcia@blaxgray.com , Email : Lissette.garcia@blaxgray.com
LucaBay Construction LLC , Email : lucabayconstruction@gmail.com
Mario M. Ruiz , Email : aromero@mcdonaldhopkins.com
Mario M. Ruiz , Email : mruiz@mcdonaldhopkins.com
Mark R. Osherow , Email : mark@osherowpllc.com
Mark R. Osherow , Email : eservice@osherowpllc.com
Mark R. Osherow , Email : paralegal@osherowpllc.com
Michael Feldenkrais , Email : mfeldenkrais@gmail.com
Michael Feldenkrais , Email : mf@feldenkraislaw.com
Moises Grayson, Esq. , Email : moises.grayson@blaxgray.com
Peter DiIorio , Email : pdiiorio@gmail.com
Richard E Guttentag , Email : rs@stearnsroberts.com
Richard E Guttentag , Email : reg@stearnsroberts.com
Ross R Hartog , Email : rhartog@mrthlaw.com
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Ross R Hartog , Email : litservice@mrthlaw.com
Scott A Orth , Email : service@orthlawoffice.com
Scott A Orth , Email : eserviceSAO@gmail.com
Steven Barry Herzberg , Email : sh@gvazquez.com
Steven Barry Herzberg , Email : yl@gvazquez.com
Steven H. Herzberg , Email : keith@silversteinpa.com
Steven H. Herzberg , Email : sh@vazquez.com
Steven Herzberg , Email : sh@gvazquez.com
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